 Case 18-31754-5-mcr             Doc 189 Filed 02/07/19 Entered 02/07/19 16:27:10                          Desc
                                   Main Document     Page 1 of 14


                                                                        Hearing Date: February 28, 2019
                                                                        Hearing Tine: 11:30 a.m.
                                                                        Hearing Location: Syracuse, NY
                                                                        Objection Deadline: February 21, 2019



 UNITED STATES BANKRUPTCY COURT
 NORTHERN DISTRICT OF NEW YORK

 In re:
                                                                                 Case Nos.
 CENTERSTONE LINEN SERVICES, LLC,                                                18-31754(main case)
 Atlas Health Care Linen Services Co., LLC,                                      18-31753
 Alliance Laundry &Textile Service, LLC,                                         18-31755
 Alliance Laundry and Textile Service of Atlanta, LLC,and                        18-31756
 Alliance LTS Winchester, LLC                                                    18-31757
 d/b/a Clarus Linen Systemsl,
                                                                                 Chapter 11 Cases
                                                      Debtors.                   Jointly Administered




   DEBTORS' MOTION FOR ORDER (I) AWARDING DAMAGES AND SANCTIONS
  AGAINST AMERICAN EXPRESS TRAVEL RELATED SERVICES COMPANY,INC.
   ("AMEX")FOR VIOLATING THE AUTOMATIC STAY;(II) FINDING AMEX IN
 CONTEMPT OF COURT FOR VIOLATING INTERIM DIP ORDER;(III) DIRECTING
    AMEX TO DISGORGE UNAUTHORIZED POST-PETITION TRANSFER; AND
      (IV)EXTENDING AUTOMATIC STAY TO NON-DEBTOR EMPLOYEES


          The above-captioned debtors and debtors in possession (the "Debtors"), by and through

 their undersigned counsel, as and for their motion requesting the entry of an Order: (i) awarding

 damages and sanctions against AmEx for violating the automatic stay; (ii) issuing a finding of

 contempt against AmEx for violating this Court's Interim DIP Order (defined below); (iii)

 directing AmEx to disgorge an unauthorized post-petition transfer in the amount of $108,175.47;

' The Debtors in these chapter 1 1 cases, along with the last four digits of each Debtor's federal tax identification
 number, are: Centerstone Linen Services, LLC d/b/a Clarus Linen Systems (5594)("Centerstone"); Atlas Health
 Care Linen Services Co., LLC d/b/a Clarus Linen Systems (2681)("Atlas"); Alliance Laundry &Textile Service,
 LLC d/b/a Clarus Linen Systems (8284)("Alliance"); Alliance Laundry and Textile Service of Atlanta, LLC d/b/a
 Clarus Linen Systems (4065)("Atlanta"); and Alliance LTS Winchester, LLC d/b/a Clarus Linen Systems (0892)
("Winchester").
 Case 18-31754-5-mcr        Doc 189 Filed 02/07/19 Entered 02/07/19 16:27:10                    Desc
                              Main Document     Page 2 of 14



(iv) extending the automatic stay to non-debtor employees who are cardholders under the

 Debtors' American Express Corporate Card program; and (v) granting such other and further

 relief as the Court deems just and proper (the "Motion"), respectfully set forth as follows:

                                 JURISDICTION AND VENUE

        1.      This Court has jurisdiction over this Motion pursuant to 28 U.S.C. § 1334(b).

        2.      This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (E),(M) and

(0).

        3.      Venue is proper in this Court pursuant to 28 U.S.C. § 1409(a).

        4.      The statutory bases for the relief requested are sections 105(a), 362(a)(3) and

(a)(6), 363(c)(2), 542, 549(a) and 550(a) of title 11 of the United States Code (11 U.S.C. §§ 101

 et seq., the "Bankruptcy Code") and Rules 6001, 9014 and 9020 of the Federal Rules of

 Bankruptcy Procedure("FRBP").

                                         BACKGROUND

        5.      Debtor Centerstone is a New York limited liability company and the corporate

 parent offour subsidiary limited liability companies (debtors Atlas, Alliance, Atlanta and

 Winchester), who are providers ofhigh-quality linen rental and commercial laundry services to

the healthcare industry, primarily supplying scrubs, sheets, towels, blankets, patient apparel and

other linen products to hospitals and healthcare clinics via long-term contacts.

        6.      On December 19, 2018 (the "Petition Date"), the Debtors filed separate,

voluntary petitions for relief under chapter 11 of the Bankruptcy Code with the United States

Bankruptcy Court for the Northern District of New York (the "Court"), commencing the

Debtors' chapter 11 cases (the "Chapter 11 Cases")
 Case 18-31754-5-mcr       Doc 189 Filed 02/07/19 Entered 02/07/19 16:27:10               Desc
                             Main Document     Page 3 of 14



        7.     The Debtors remain in possession of their respective assets and continue to

operate their businesses as debtors in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. On January 10, 2019, the Office of the United States Trustee appointed an

Official Committee of Unsecured Creditors in the          Chapter 11 Cases. No request for the

appointment of a trustee or examiner has been made.

       8.      The Debtors are currently in the process of marketing and selling their• assets as

going concerns. As the Court is aware, the Debtors continue to operate under interim cash

collateral/DIP facility orders, and the collection and use of cash is closely monitored by all

parties in these Cases to ensure that the cash is used solely for the purpose of maintaining the

Debtors' operations pending the closing of asset sales.

                                   A. The First-Day Orders

       9.      The Court conducted the first-day conference in the Debtors' cases on December

20, 2018. On December 20, 2018, the Court entered a Final Oder Authorizing (I) Continued

Maintenance of Existing Bank Accounts, (II) Continued Use of Existing Cash Management

System, (III) Continued Use of Existing Business Forms and (IV) Continued Intercompany

Transactions [Dkt. No. 26] (the "Cash Management Order"). The Cash Management Order

authorized the Debtors and HSBC Bank USA, National Association ("HSBC Bank") to, among

other things, identify and dishonor checks and payments related to pre-petition obligations.

       10.     Also on December 20, 2018, the Court entered a Final Order° (I) AuthoNizing

DebtoNs to Pay Prepetition Wages, Salaries and Benefits, (II) Authorizing the Continuation of

Employee Benefit Programs, in the Ordinary Course of Business and (III) Directing Banks to

Honor Prepetition Checks for Payment of Prepetition Wage, Salary and Benefit Obligations

[Dkt. No. 24](the "Wage Order"). Paragraph 2 of the Wage Order provides that "[t]he Debtors



                                                3
 Case 18-31754-5-mcr        Doc 189 Filed 02/07/19 Entered 02/07/19 16:27:10               Desc
                              Main Document     Page 4 of 14



 are authorized, but not directed, to pay or otherwise honor the Prepetition Wages and Benefits, as

 described in the Motion to, or for the benefit of the employees            ." (emphasis added).

Paragraph 10 of the Wage Order provides that "nothing herein shall create, nor is intended to

 create, any rights in favor of, or enhance the status of any claim held by, any party." Finally,

Paragraph 14 of the Wage Order further provides that:

               Notwithstanding anything to the contrary in this Order, any payment made
               or to be made under this Order, and any authorization contained in this
               Order, shall be subject to the requirements imposed on the Debtors under
               any orders) of the Court approving the Debtors' debtor-in-possession
               financing facility and use of cash collateral and any budget in connection
               therewith.

        1 1.   On December 21, 2018, the Court entered the Inte~iin ONder (I) AuthoNizing the

Debtor°s to (A) Obtain Postpetition Financing on a Super-P~~ioNity , Senior Secured Basis and (B)

Use Cash Collateral, (II) Granting (A) Liens and Super-Priority Claims and (B) Adequate

Protection to Certain Prepetition Lender°s, (III) Modifying the Automatic Stay, (IV) Scheduling a

Final Hea~~ing, and (V) Granting Related Relief dated December 21, 2018 [Dkt. No. 33] (the

"Interim DIP Order") which, among other things, authorized the Debtors to use cash collateral

solely in accordance with the Budget attached thereto as Exhibit 2. The Budget identified

specific approved expenses and covered the limited period of December 19, 2018 through

January 11, 2019. It did not provide for any payments to AmEx.

                                     B. The AmEx Account

        12.    As set forth in paragraph 2 of the Affidavit of Marc E. Yonkers, sworn to the 7t~'

day of February, 2019, attached hereto as Exhibit "A" and submitted in further support of this

Motion (the "Yonkers Affidavit"), Centerstone opened a Corporate Card Account with AmEx in

January 2014. Approximately twenty employees have been issued American Express credit
Case 18-31754-5-mcr        Doc 189 Filed 02/07/19 Entered 02/07/19 16:27:10               Desc
                             Main Document     Page 5 of 14



cards under the Corporate Card Account and they use the cards to charge business-related travel

expenses incurred on behalf of the Debtors. Id. at ¶ 3.

       13.     Despite the fact that the individual cardholders receive monthly statements setting

forth their charges for the preceding month, Id. at ¶ 9, Centerstone is designated as the party

responsible for paying the amounts due under the Corporate Card Account. Id. at ¶¶ 4-7.

       14.     On December 21, 2018, Mr. Yonkers was contacted by an AmEx representative

to discuss the impact of the Debtors' bankruptcy filing on the Corporate Card Account. Id.at ¶

1 1. AmEx also placed the Corporate Card Account on hold as of December 21, 2018 and

declined any additional employee charges. Id. at 10.

       15.     On December 27, 2018, AmEx received an ACH transfer of funds in the amount

of $108,175.47 from the Debtors' operating account (the "Post-Petition Transfer") in payment of

pre-petition charges due under the Corporate Card Account. Id. at ¶ 12.

       16.     The Post-Petition Transfer occurred during a holiday week while Centerstone was

short staffed and unable to effectively identify and communicate to HSBC Bank all of the pre-

petition checks and payments that should be rejected under the terms of the Cash Management

Order. Id.

       17.     On January 9, 2019, Debtors' counsel sent a letter to AmEx's General Counsel

requesting that AmEx return the Post-Petition Transfer. A copy of the January 9 letter is

attached hereto as Exhibit "B". On January 25, 2019, Debtors' counsel received a telephone

call from AmEx's counsel in response to the January 9 letter.          Counsel have spoken or

exchanged emails on several occasions thereafter; however, AmEx has refused to return the Post-

Petition Transfer and has asserted that the Transfer was an authorized reimbursement of business

expenses under the Wage Motion. In addition, AmEx has asserted that it will pursue the



                                                E
Case 18-31754-5-mcr          Doc 189 Filed 02/07/19 Entered 02/07/19 16:27:10              Desc
                               Main Document     Page 6 of 14



individual employees for payment if it is required to return the Post-Petition Transfer to the

Debtors.

                                      RELIEF REQUESTED


        18.     By this motion, the Debtors request that the Court issue an Order: (i) pursuant to

sections 105(a) and 362(a)(3) and (a)(6) of the Bankruptcy Code and FRBP 9014 and 9020,

determining that AmEx violated the automatic stay when it accepted the Post-Petition Transfer

while having knowledge of the Debtors' bankruptcy filings and awarding damages and sanctions

as against AmEx; (ii) pursuant to sections 105(a) and 363(c)(2) of the Bankruptcy Code and

FRBP 9014 and 9020, issuing a finding of contempt as against AmEx for violating the Interim

DIP Order by obtaining and using the Debtors' cash collateral without the consent of the Court

or HSBC Bank; (iii) pursuant to sections 542(a), 549(a) and 550(a) of the Bankruptcy Code and

FRBP 6001, directing AmEx to disgorge the amount of the Post-Petition Transfer to the Debtors;

and (iv) pursuant to section 105(a) of the Bankruptcy Code, extending the automatic stay to the

non-debtor employees who are cardholders under the American Express Corporate Card program

on a permanent basis.

                                            ARGUMENT

                   A. AmEx Violated the Automatic Stay When It Accepted
               the Post-Petition Transfer From the Debtors' Operating Account


        19.     Section 362(a) of the Bankruptcy Code provides that "a petition filed under

section 301 ... of this title ...operates as a stay, applicable to all entities, of

              (3)       any act to obtain possession of property of the estate or of property from
       the estate or to exercise control over property of the estate;

             (6)     any act to collect, assess, or recover a claim against the debtor that arose
       before the commencement of the case under this title.
Case 18-31754-5-mcr         Doc 189 Filed 02/07/19 Entered 02/07/19 16:27:10                 Desc
                              Main Document     Page 7 of 14




11 U.S.C. §§ 362(a)(3) and (a)(6).

         20.   Section 105(a) of the Bankruptcy Code authorizes a court to issue "any order,

process or judgment that is necessary or appropriate to carry out the provisions of this title." 11

U.S.C. § 105(a). Under this section, a corporation may be entitled to recover for a stay violation

as a sanction for civil contempt. Maritime Asbestosis Legal Clinic v. LTV Steel Co. (In ~e

Chateaugay Corp.), 920 F.2d 183, 186-187(2d Cir. 1990)("contempt proceedings are the proper

means of compensation and punishment for willful violations of the automatic stay"); Ball v.

A.O. Smith Corp., 321 B.R. 100, 108(N.D.N.Y 2005); Rediger Invs. CoNp. v. H Granados

Commons., Inc. (In Ne H Granados Commons., Inc.), 503 B.R. 726, 733 (B.A.P. 9th Cir. 2013).

         21.   To demonstrate contempt, the moving party must show "maliciousness or lack of

a good faith argument and belief that the party's actions were not in violation of a bankruptcy

stay." Maritime at 186-187; See also, Ball v. A.O. Smith Corp., 321 B.R. 100, 108 (N.D.N.Y

2005).

         22.   The facts surrounding AmEx's prohibited conduct in the Debtors' cases are

straight-forward.   AmEx had express knowledge of the Debtors' bankruptcy filing as of

December 21, 2018.       Yonkers Affidavit, ¶ 10.      The cash in the amount of $108,175.47

comprising the Post-Petition Transfer was property of the Debtors' estates at the time it was

transferred to AmEx. Despite the fact that AmEx was aware of the Debtors' bankruptcy filings,

it accepted the Post-Petition Transfer from the Debtors' operating account on December 27, 2018

in satisfaction of apre-petition debt. By these actions, AmEx intentionally, and with knowledge

of the Debtors' pending Chapter 11 Cases, violated the automatic stay by improperly (i)

collecting apre-petition debt and (ii) taking possession of the Debtors' property —their operating

cash.
Case 18-31754-5-mcr         Doc 189 Filed 02/07/19 Entered 02/07/19 16:27:10                   Desc
                              Main Document     Page 8 of 14



         23.    Based upon the foregoing, AmEx's violation of the automatic stay was intentional

and a deliberately calculated attempt to extract AmEx's pre-petition claim amount due from the

Debtors. The Debtors respectfully submit that this conduct, coupled with AmEx's failure to

return the Post-Petition Transfer in response to the Debtors' demand, justify an award of

damages and sanctions, plus the Debtors' attorneys' fees, as against AmEx in these Chapter 11

Cases.

               B. The Post-Petition Transfer Violated the Interim DIP Order and
                a Finding of Contempt of Court Should Be Issued Against AmEx

         24.    Section 363(c)(2) of the Bankruptcy Code provides that "[t]he [debtor in

possession] may not use, sell, or lease cash collateral under paragraph (1) of this subsection

unless —

                (A)    each entity that has an interest in such cash collateral consents, or

               (B)      the court, after notice and a hearing, authorizes such use, sale, or
                lease in accordance with the provisions of this section.

         25.    The Interim DIP Order entered by this Court authorizes the Debtors to use HSBC

Bank's cash collateral for the purpose of maintaining post-petition operations under certain terms

and conditions and in accordance with an attached Budget. The Budget sets forth very specific

expenses which the Debtors may pay with the cash collateral during the period of December 19,

2018 through January 11, 2019. AmEx's $108,175.47 pre-petition claim is not included in the

Budget.

         26.    By obtaining the Post-Petition Transfer of cash collateral from the Debtors'

operating account without the consent of this Court or HSBC Bank, AmEx used the Debtors'

cash collateral in violation of the Interim DIP Order and section 363(c)(2) of the Bankruptcy




                                                 E
 Case 18-31754-5-mcr         Doc 189 Filed 02/07/19 Entered 02/07/19 16:27:10                Desc
                               Main Document     Page 9 of 14



 Code.     Consequently, AmEx should be directed to return the amount of the Post-Petition

 Transfer to the Debtors, or be found to be in contempt of the Court's Interim DIP Order.

          27.   The Bankruptcy Court has "the power, under 11 U.S.C. § 105 and Bankruptcy

 Rule 9020, to hear and determine a request for contempt emanating from the violation of one of

 its orders in a core proceeding." MCI WoNldcom Contnzunications, Inc. et al. v. HSG/ATN, Inc.

(In re WoNldcom, Inc.), 361 B.R. 697, 721 (Bankr. S.D.N.Y. 2007) quoting In re Hulon, 92 B.R.

 670, 675 (Bankr. D. Tex. 1988). Violations of section 363(c)(2) of the Bankruptcy Code

 involving impermissible uses of cash collateral can be grounds for ordering the disgorgement of

 post-petition transfers received by vendors. See, In ~°e Delco Oil, Inc., 599 F.3d 1255 (l lt~' Cir.

 2010).

          28.   AmEx's extraction of the unauthorized Post-Petition Transfer from the Debtors

 and its misappropriation of the Debtors' cash collateral were accomplished with full knowledge

 of the Debtors' pending bankruptcy cases and the first-day orders entered in the cases. AmEx's

 conduct in taking the subject funds, and then refusing to return them despite due demand,

 violated the Interim DIP Order, and should result in a finding of contempt against AmEx.

          29.   Finally, AmEx has attempted to justify its conduct by asserting that the Post-

 Petition Transfer was authorized by the Wage Order entered in these Cases.                 AmEx's

 interpretation of the Wage Order is incorrect. The Wage Order authorizes, but does not direct,

 the Debtors to reimburse their employees for business-related expenses; it does not authorize the

 Debtors to pay third parties for business-related expenses incurred by the Debtors' employees.

 In addition, the Wage Order prohibits any party from enhancing its position as a result of that

 Order, and expressly provides that the payment of amounts due under the Wage Order shall be




                                                  D
 Case 18-31754-5-mcr        Doc 189 Filed 02/07/19 Entered 02/07/19 16:27:10               Desc
                              Main Document    Page 10 of 14



subject to the requirements of the Interim DIP Order "and any budget in connection therewith."

Wage Order, ¶ 14.

       30.     Based upon the foregoing, AmEx violated the Interim DIP Order and section

363(c)(2) of the Bankruptcy Code when it obtained the Post-Petition Transfer. Consequently, a

finding of contempt, and the imposition of damages and sanctions, should be issued as against

AmEx and AmEx should be directed to return the Post-Petition Transfer amount to the Debtors.

               C. The Post-Petition Transfer is Recoverable by the Debtors
          Under Sections 542,549 and 550 of the Bankruptcy Code and FRBP 6001


       31.     Section 549(a) of the Bankruptcy Code authorizes a debtor in possession to

"avoid a transfer of property of the estate (1) that occurs after the commencement of the case;

and (2)(A) that is authorized only under section 3030 or 542(c) of this title; or (B) that is not

authorized under this title or by the court." 11 U.S.C. § 549(a). FRBP 6001 places the burden of

proving the validity of a transfer under section 549 on the transferee. Fed. R. Bankr. P. 6001.

       32.     In this case, the Post-Petition Transfer occurred on December 27, 2018, after the

commencement of the Debtors' cases, and was not authorized by the Bankruptcy Court or this

Court. The Debtors demanded that AmEx return the Post-Petition Transfer. AmEx has declined

to return the Post-Petition Transfer to the Debtors.

       33.     Based upon the foregoing, the Debtors respectfully request that the Court issue an

Order avoiding the Post-Petition Transfer under sections 549(a) and 550(a)(1) of the Bankruptcy

Code and directing that AmEx disgorge $108,175.47, the amount of the Post-Petition Transfer,

to the Debtors.

       34.     In the alternative, the Debtors respectfully request that the Court issue an Order

directing AmEx to turn over the amount of the Post-Petition Transfer to the Debtors under



                                                 10
 Case 18-31754-5-mcr          Doc 189 Filed 02/07/19 Entered 02/07/19 16:27:10             Desc
                                Main Document    Page 11 of 14



section 542(a) of the Bankruptcy Code, as AmEx is the initial transferee "in possession, custody

or control, during the case, of property that the [debtor] may use, sell or lease under section 363

of this title ...." 11 U.S.C. § 542(a).

                         D. The Automatic Stay Should Be Extended
                               to the Non-Debtor Employees

       35.     AmEx has advised the Debtors that, in the event it is required to disgorge the

Post-Petition Transfer, it will seek to recover the balances due under the individual credit cards

from the Debtors' cardholder employees. AmEx takes the position that, by using the AmEx

credit cards, each employee agreed to be jointly and severally liable with the Centerstone for

charges incurred on his/her Corporate Card under the terms of the Corporate Card Agreement.

The Debtors respectfully submit that AmEx is improperly using the threat of litigation against

the Debtors' employees as leverage to force the Debtors to abandon their request for the return of

the Post-Petition Transfer.

       36.     The Debtors disagree with AmEx's interpretation of the liability sections of the

Corporate Card Agreement and respectfully submit that Centerstone is the sole party liable for

the charges incurred under the Corporate Card Account, as evidenced by its selection of the

"Company Payment" options on the AmEx Application and by sections 3.2(b) and 17.1 of the

Corporate Card Agreement. Yonkers Affidavit, ¶~ 2, 6-7.

       37.     With the exception of CEO John Giardino, none of the employees to whom the

AmEx credit cards are issued are officers or directors of the Debtors.          They are regular

employees who, since the Petition Date, have focused their efforts on stabilizing the Debtors'

commercial laundry operations and servicing the healthcare customers. They are innocent

parties caught in the middle between the Debtors and AmEx who cannot afford to defend

personal collection actions brought by AmEx or pay judgments in amounts of up to $44,000, in

                                                11
Case 18-31754-5-mcr         Doc 189 Filed 02/07/19 Entered 02/07/19 16:27:10              Desc
                              Main Document    Page 12 of 14



some cases, for business expenses they were required to charge to company credit cards in order

to properly perform their jobs.

         38.   In light of the foregoing, the Debtors respectfully request that the Court issue an

Order extending the automatic stay, on a permanent basis, to the non-debtor employees in order

to prevent AmEx from commencing collection actions against them or otherwise litigating the

liability issue against them outside of this Court.

         39.   As a general rule, the automatic stay does not apply to non-debtors and no section

of the Bankruptcy Code specifically authorizes that relief in chapter 11 cases. The Court,

however, may use its equitable powers under section 105(a) of the Bankruptcy Code to extend

the automatic stay to non-debtors "when a claim against the non-debtor will have an immediate

adverse economic consequence for the debtor's estate." Queenie, Ltd. v. Nygaard, Int., 321 F.3d

282, 287(2d Cir. 2003).

         40.   When considering whether to extend the automatic stay to non-debtors under

section 105(a) of the Bankruptcy Code, courts in the Second Circuit consider factors similar to

those used for the imposition of injunctions: (i) whether there is the danger of imminent,

irreparable harm to the estate or the debtors' ability to reorganize; (ii) whether there is a

reasonable likelihood of a successful reorganization; (iii) the balance of the relative harms as

between the non-debtor and the party to be stayed; and (iv) the impact upon the public interest,

which requires a balancing of the public interest in successful bankruptcy reorganizations with

competing societal interests." In re United Health Care Org., 210 B.R. 228, 233 (S.D.N.Y.

1997).

         41.   In the Debtors' cases, there is the danger of imminent harm to the Debtors'

businesses if the focus of approximately fourteen key employees is diverted from performing



                                                  12
Case 18-31754-5-mcr        Doc 189 Filed 02/07/19 Entered 02/07/19 16:27:10                Desc
                             Main Document    Page 13 of 14



their jobs to defending personal collection actions brought by AmEx.             In addition, the

psychological stress of worrying about pending litigation and the cost of defense counsel would

distract the employees and could negatively impact the value of the Debtors' estate due to

mistakes made by employees or a key employee's voluntary termination of his or her

employment. Second, although the Debtors are not effecting an internal reorganization of their

estates, they are engaged in the sales of their assets as going concerns and need to ensure that

their employees devote their efforts to maintaining the going concern value of the Debtors'

assets. Third, the balance of harm clearly favors the individual employees, who simply cannot

afford to be sued for incurring legitimate business expenses, rather than AmEx, an international

financial institution with significant resources. Finally, society's interest in protecting regular

employees from being sued personally for corporate obligations, allowing those employees to

fully engage in their jobs and assist the Debtors in achieving going concern sales of their

businesses, is far more significant than society's interest in AmEx collecting a delinquent

account.

       42.     The Debtors respectfully submit that, while their request for a permanent

extension of the automatic stay to cover the non-debtor employees is unusual, it is not

unwarranted in these Cases, and is the equitable and right thing to do under the circumstances.

       43.     In light of the foregoing, the Debtors respectfully submit that the Court may

exercise its equitable powers under section 105(a) of the Bankruptcy Code to issue an order

extending the automatic stay to all of the non-debtor employees who hold credit cards under the

American Express Corporate Card program in order to prevent AmEx from commencing

collection actions against them.




                                                13
Case 18-31754-5-mcr         Doc 189 Filed 02/07/19 Entered 02/07/19 16:27:10                Desc
                              Main Document    Page 14 of 14



       WHEREFORE, based upon the foregoing, the Debtors respectfully request that the

Court issue an Order:

              (a)       determining that AmEx violated the automatic stay by obtaining the Post-

Petition Transfer from the Debtors, imposing sanctions as against AmEx and awarding damages

and attorneys' fees to the Debtors;

              (b)       issuing a finding of contempt as against AmEx based upon its violation of

the Interim DIP Order and section 363(c)(2) of the Bankruptcy Code and imposing sanctions and

damages as against AmEx;

              (c)       directing AmEx to disgorge the Post-Petition Transfer in the amount of

$108,175.47 to the Debtors' estates;

              (d)       extending the automatic stay to the non-debtor employees who are

cardholders under the American Express Corporate Card program; and

              (e)       granting such other and further relief as the Court deems just and proper.


Date: February 7, 2019
      Syracuse, New York                      BOND,SCHOENECK &KING,PLLC



                                       BV                                  0


                                              Stephen A. Donato, Esq., Bar Roll No. 101522
                                              Camille W. Hill, Esq., Bar Roll No. 501876
                                              Andrew S. Rivera, Bar Roll No. 700712
                                              Office and Post Office Address:
                                              One Lincoln Center
                                              Syracuse, New York 13202
                                              Tel:(315)218-8000
                                              Fax:(315)218-8100
                                              Email: sdonato@bsk.com
                                                     chill@bsk.com
                                                     arivera@bsk.com

                                              Counsel to the Debtors and Debtors in Possession


                                                 14
                                                                                             3294763.1
